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                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :
      v.                             : CRIMINAL NO. 07-785 (JLL)
                                     :
AKOUAVI KPADE AFOLABI, et al.        : ORDER
                                     :
                  Defendant.         :
____________________________________:

LINARES, District Judge.

       The Government having moved for admission of certain “voodoo” evidence as both

intrinsic to the acts charged as well as admissible under Federal Rule of Evidence 404(b); and the

Court having evaluated the briefs submitted both in support of an in opposition to the motion;

and the Court having heard oral argument from both sides; and for the reasons set forth on the

record during the September 11, 2009 hearing; and for good cause shown;

       IT IS on this 11th day of September, 2009,

       ORDERED that the Government’s motion is GRANTED except as to the use of the

word “voodoo,” upon which the Court RESERVES pending an additional hearing to be held

outside the presence of the jury; and it is further

       ORDERED that Defendant shall submit a proposed limiting instruction.

       IT IS SO ORDERED.



                                                              /s/ Jose L. Linares
                                                              United States District Judge
